                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


UNITED STATES OF AMERICA                       ) PETITION FOR WRIT OF HABEAS
                                               ) CORPUS AD PROSEQUENDUM
       v.                                      )
                                               )
JAMES ALEX FIELDS, JR.,                        ) Criminal No. 3:18-CR-00011
    Defendant                                  )

       Your petitioner, United States of America, by Christopher Kavanaugh, Assistant United
States Attorney for the Western District of Virginia, respectfully shows:
       1. That this case is a prosecution upon an indictment charging Defendant with Title 18
United States Code § 245(b)(2)(B), § 249(a)(1), § 3591, and § 3592.
       2. That the presence of said Defendant before the United States District Court for the
Western District of Virginia at Charlottesville, scheduled for March 27, 2019 at 2:30 p.m., is
necessary and said Defendant is now in custody of Albemarle-Charlottesville Regional Jail,
Charlottesville, Virginia 22902.
       WHEREFORE, your petitioner prays that a Writ of Habeas Corpus Ad Prosequendum be
issued to the United States Marshal for the Western District of Virginia, or any other authorized
United States Marshal, who shall bring the defendant before the Court at the above time and place.


Dated: March 25, 2019                                  s/Christopher Kavanaugh
                                                       Christopher Kavanaugh
                                                       Assistant United States Attorney

TO:    Albemarle-Charlottesville Regional Jail, 160 Peregory Lane, Charlottesville, Virginia 22902
       434-977-6981

IN THE EVENT THIS INMATE IS TO BE TRANSFERRED TO ANOTHER FACILITY BEFORE
THE REQUESTED DATE OF APPEARANCE, PLEASE NOTIFY THE ASSISTANT U.S.
ATTORNEY LISTED ABOVE AT (434) 293-4283.

GREETINGS:

       WE COMMAND that you surrender the body of JAMES ALEX FIELDS, JR., detained
in the Albemarle-Charlottesville Regional Jail under your custody, as it is said, to the United States
Marshal for the Western District of Virginia, or one of his Deputies, or any other authorized United
States Marshal, to the end that said defendant’s body will be before the United States District Court


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for the Western District of Virginia, at Charlottesville, scheduled for March 27, 2019 at 2:30 p.m.,
or at such other time or times as the District Court may direct.

       ENTERED: This ____ day of ___________, 2019.

                                                             ______________________________
                                                                          Judge


TO THE UNITED STATES MARSHAL FOR THE WESTERN DISTRICT OF VIRGINIA,
OR ANY AUTHORIZED UNITED STATES MARSHAL:

TO EXECUTE:

       WE COMMAND that you proceed to Albemarle-Charlottesville Regional Jail and remove
therefrom the body of JAMES ALEX FIELDS, JR. and produce said defendant under safe and
secure conduct before the United States District Court for the Western District of Virginia, at
Charlottesville, scheduled for March 27, 2019 at 2:30 p.m., or at such other time or times as the
District Court may direct.
                                                              BY: _________________________
                                                                        Deputy Clerk

CUSTODY ASSUMED:

EXECUTED this ______ day of _____________________, 2019

               BY: ____________________________
                    United States Marshal/Deputy


RETURNED:

EXECUTED this _______ day of ____________________, 2019

               BY:    ____________________________
                       United States Marshal/Deputy


SENTENCED STATE PRISONER? No




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